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    6

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    8

    9                     UNITED STATES DISTRICT COURT
   10
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

   11

   12   KLAUBER BROTHERS, INC., a New ) Case No.: 21-cv-06886-PA-AGR
   13   York corporation,                       ) Hon. Percy Anderson
                                                ) Courtroom: 9A
   14                                Plaintiff, )
   15   v.                                      ) STIPULATED PROTECTIVE
                                                ) ORDER
   16   BE WICKED, INC., a California           )
   17   corporation; BAREWEB, INC.,             ) NOTE CHANGES MADE BY
        individually and d/b/a “Bare            ) COURT (page 8)
   18   Necessities,” a Delaware Corporation; )
   19   ALTITUDE COLLECTION, LLC,               )
        individually and d/b/a “ModCloth”, a )
   20   Delaware Limited Liability Company; )
   21   AMAZON.COM, INC., a Delaware            )
        Corporation; and DOES 1 through 10, )
   22                                           )
   23                            Defendants. )

   24   II.   PURPOSES AND LIMITATIONS
   25         A.     Discovery in this action is likely to involve production of confidential,
   26
        proprietary, or private information for which special protection from public disclosure
   27
        and from use for any purpose other than prosecuting this litigation may be warranted.
   28
                                                    1
                                                                  STIPULATED PROTECTIVE ORDER
                                                             CASE NO. 21-cv-06886-PA-AGR263118790v.1
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    1   Accordingly, Plaintiff Klauber Brothers, Inc. (“Klauber” or “Plaintiff”) and Be Wicked,

    2   Inc. (“BWI,” or Defendant”), with Klauber and BWI referred, individually as “the party,”
    3
        or, collectively, as “the parties,” hereby stipulate to and petition the Court to enter the
    4
        following Stipulated Protective Order. The parties acknowledge that this Order does not
    5
        confer blanket protections on all disclosures or responses to discovery and that the
    6
        protection it affords from public disclosure and use extends only to the limited
    7

    8   information or items that are entitled to confidential treatment under the applicable

    9   legal principles. The parties further acknowledge, as set forth in Section XIII(C), below,

   10   that this Stipulated Protective Order does not entitle them to file confidential
   11   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
   12
        followed and the standards that will be applied when a party seeks permission from the
   13
        Court to file material under seal.
   14
               II.    GOOD CAUSE STATEMENT
   15

   16          A.     This action is likely to involve trade secrets, customer and pricing lists and

   17   other valuable research, development, commercial, financial, technical and/or

   18   proprietary information for which special protection from public disclosure and from
   19   use for any purpose other than prosecution of this action is warranted. Such
   20
        confidential and proprietary materials and information consist of, among other things,
   21
        confidential business or financial information, information regarding confidential
   22
        business practices, or other confidential research, development, or commercial
   23
        information (including information implicating privacy rights of third parties),
   24

   25   information related to the copyrights and allegedly infringing designs that are the

   26   subject matter of this law suit (also collectively “the Subject IP Works”), including,

   27   without limitation, creation and/or design of the Subject IP Works, transfer, licensing,
   28
        or assignment of the Subject IP Works, source, sales, use, orders, or manufacturing of
                                                      2
                                                                    STIPULATED PROTECTIVE ORDER
                                                               CASE NO. 21-cv-06886-PA-AGR263118790v.1
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    1   the Subject IP Works, and/or the parties’ vendors, customers, and manufacturers, and

    2   their contact information, for the Subject IP Works or the goods bearing the Subject IP
    3
        Works, otherwise generally unavailable to the public, or which may be privileged or
    4
        otherwise protected from disclosure under state or federal statutes, court rules, case
    5
        decisions, or common law. Accordingly, to expedite the flow of information, to facilitate
    6
        the prompt resolution of disputes over confidentiality of discovery materials, to
    7

    8   adequately protect information the parties are entitled to keep confidential, to ensure

    9   that the parties are permitted reasonable necessary uses of such material in preparation

   10   for and in the conduct of trial, to address their handling at the end of the litigation, and
   11   serve the ends of justice, a protective order for such information is justified in this
   12
        matter. It is the intent of the parties that information will not be designated as
   13
        confidential for tactical reasons and that nothing be so designated without a good faith
   14
        belief that it has been maintained in a confidential, non-public manner, and there is
   15

   16   good cause why it should not be part of the public record of this case.

   17          III.   DEFINITIONS

   18          A.     Action: This pending federal law suit.
   19          B.     Challenging Party: Plaintiff Klauber Brothers, Inc.
   20
               C.     “CONFIDENTIAL” Information or Items: Information (regardless of how
   21
        it is generated, stored or maintained) or tangible things that qualify for protection under
   22
        Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
   23
        Statement.
   24

   25          D.     Counsel: Outside Counsel of Record and House Counsel (as well as their

   26   support staff).

   27          E.     Designated House Counsel: House Counsel who seek access to “HIGHLY
   28
        CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.
                                                      3
                                                                    STIPULATED PROTECTIVE ORDER
                                                               CASE NO. 21-cv-06886-PA-AGR263118790v.1
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    1          F.     Designating Party: A Party or Non-Party that designates information or

    2   items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL”
    3
        or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
    4
               G.     Disclosure or Discovery Material: All items or information, regardless of
    5
        the medium or manner in which it is generated, stored, or maintained (including,
    6
        among other things, testimony, transcripts, and tangible things), that are produced or
    7

    8   generated in disclosures or responses to discovery in this matter.

    9          H.     Expert: A person with specialized knowledge or experience in a matter

   10   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
   11   expert witness or as a consultant in this Action.
   12
               I.     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or
   13
        Items: extremely sensitive “Confidential Information or Items,” disclosure of which to
   14
        another Party or Non-Party would create a substantial risk of serious harm that could
   15

   16   not be avoided by less restrictive means.

   17          J.     House Counsel: Attorneys who are employees of a party to this Action.

   18   House Counsel does not include Outside Counsel of Record or any other outside
   19   counsel.
   20
               K.     Non-Party: Any natural person, partnership, corporation, association, or
   21
        other legal entity not named as a Party to this action.
   22
               L.     Outside Counsel of Record: Attorneys who are not employees of a party to
   23
        this Action but are retained to represent or advise a party to this Action and have
   24

   25   appeared in this Action on behalf of that party or are affiliated with a law firm which has

   26   appeared on behalf of that party, and includes support staff.

   27

   28
                                                     4
                                                                   STIPULATED PROTECTIVE ORDER
                                                              CASE NO. 21-cv-06886-PA-AGR263118790v.1
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    1          M.     Party: Any party to this Action, including all of its officers, directors,

    2   employees, consultants, retained experts, and Outside Counsel of Record (and their
    3
        support staffs).
    4
               N.     Producing Party: A Party or Non-Party that produces Disclosure or
    5
        Discovery Material in this Action.
    6
               O.     Professional Vendors: Persons or entities that provide litigation support
    7

    8   services (e.g., photocopying, videotaping, translating, preparing exhibits or

    9   demonstrations, and organizing, storing, or retrieving data in any form or medium) and

   10   their employees and subcontractors.
   11          P.     Protected Material: Any Disclosure or Discovery Material that is
   12
        designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   13
        ONLY.”
   14
               Q.     Receiving Party: A Party that receives Disclosure or Discovery Material
   15

   16   from a Producing Party.

   17          IV.    SCOPE

   18          A.     The protections conferred by this Stipulation and Order cover not only
   19   Protected Material (as defined above), but also (1) any information copied or extracted
   20
        from Protected Material, including metadata; (2) all copies, excerpts, summaries, or
   21
        compilations of Protected Material; and (3) any testimony, conversations, or
   22
        presentations by Parties or their Counsel that might reveal Protected Material.
   23
               B.     Any use of Protected Material at trial shall be governed by the orders of the
   24

   25   trial judge. This Order does not govern the use of Protected Material at trial.

   26          V.     DURATION

   27          A.     Even after final disposition of this litigation, the confidentiality obligations
   28
        imposed by this Order shall remain in effect until a Designating Party agrees otherwise
                                                      5
                                                                    STIPULATED PROTECTIVE ORDER
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    1   in writing or a court order otherwise directs. Final disposition shall be deemed to be the

    2   later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;
    3
        and (2) final judgment herein after the completion and exhaustion of all appeals,
    4
        rehearings, remands, trials, or reviews of this Action, including the time limits for filing
    5
        any motions or applications for extension of time pursuant to applicable law.
    6
               VI.    DESIGNATING PROTECTED MATERIAL
    7

    8          A.     Exercise of Restraint and Care in Designating Material for Protection

    9                 1.     Each Party or Non-Party that designates information or items for

   10          protection under this Order must take care to limit any such designation to
   11          specific material that qualifies under the appropriate standards. The Designating
   12
               Party must designate for protection only those parts of material, documents,
   13
               items, or oral or written communications that qualify so that other portions of the
   14
               material, documents, items, or communications for which protection is not
   15

   16          warranted are not swept unjustifiably within the ambit of this Order.

   17                 2.     Mass, indiscriminate, or routinized designations are prohibited.

   18          Designations that are shown to be clearly unjustified or that have been made for
   19          an improper purpose (e.g., to unnecessarily encumber the case development
   20
               process or to impose unnecessary expenses and burdens on other parties) may
   21
               expose the Designating Party to sanctions.
   22
                      3.     If it comes to a Designating Party’s attention that information or
   23
               items that it designated for protection do not qualify for protection, that
   24

   25          Designating Party must promptly notify all other Parties that it is withdrawing

   26          the inapplicable designation.

   27          B.     Manner and Timing of Designations
   28
                                                      6
                                                                    STIPULATED PROTECTIVE ORDER
                                                               CASE NO. 21-cv-06886-PA-AGR263118790v.1
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    1              1.     Except as otherwise provided in this Order (see, e.g., Section

    2        B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or Discovery
    3
             Material that qualifies for protection under this Order must be clearly so
    4
             designated before the material is disclosed or produced.
    5
                   2.     Designation in conformity with this Order requires the following:
    6
                          a.     For information in documentary form (e.g., paper or
    7

    8              electronic documents, but excluding transcripts of depositions or other

    9              pretrial or trial proceedings), that the Producing Party affix at a minimum,

   10              the legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”) or
   11              “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”, to each page
   12
                   that contains protected material. If only a portion or portions of the
   13
                   material on a page qualifies for protection, the Producing Party also must
   14
                   clearly identify the protected portion(s) (e.g., by making appropriate
   15

   16              markings in the margins).

   17                     b.     A Party or Non-Party that makes original documents

   18              available for inspection need not designate them for protection until after
   19              the inspecting Party has indicated which documents it would like copied
   20
                   and produced. During the inspection and before the designation, all of the
   21
                   material made available for inspection shall be deemed “HIGHLY
   22
                   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the inspecting Party
   23
                   has identified the documents it wants copied and produced, the Producing
   24

   25              Party must determine which documents, or portions thereof, qualify for

   26              protection under this Order. Then, before producing the specified

   27              documents, the Producing Party must affix the appropriate legend
   28
                   (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                                  7
                                                                STIPULATED PROTECTIVE ORDER
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    1              ONLY” to each page that contains Protected Material. If only a portion or

    2              portions of the material on a page qualifies for protection, the Producing
    3
                   Party also must clearly identify the protected portion(s) (e.g., by making
    4
                   appropriate markings in the margins) and must specify, for each portion,
    5
                   the level of protection being asserted.
    6
                          (b) for testimony given in deposition or in other pretrial or trial
    7

    8              proceedings, that the Designating Party identify on the record, before the

    9              close of the deposition, hearing, or other proceeding, all protected

   10              testimony and specify the level of protection being asserted. When it is
   11              impractical to identify separately each portion of testimony that is entitled
   12
                   to protection and it appears that substantial portions of the testimony may
   13
                   qualify for protection, the Designating Party may invoke on the record
   14
                   (before the deposition, hearing, or other proceeding is concluded) a right
   15

   16              to have up to 21 days to identify the specific portions of the testimony as to

   17              which protection is sought and to specify the level of protection being

   18              asserted. Only those portions of the testimony that are appropriately
   19              designated for protection within the 21 days shall be covered by the
   20
                   provisions of this Stipulated Protective Order. Alternatively, a Designating
   21
                   Party may specify, at the deposition or up to 21 days afterwards if that
   22
                   period is properly invoked, that the entire transcript shall be treated as
   23
                   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   24

   25              ONLY.”

   26                     Parties shall give the other parties notice if they reasonably expect a

   27              deposition, hearing or other proceeding to include Protected Material so
   28
                   that the other parties can ensure that only authorized individuals who
                                                  8
                                                                  STIPULATED PROTECTIVE ORDER
                                                             CASE NO. 21-cv-06886-PA-AGR263118790v.1
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    1              have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

    2              A) are present at those proceedings. The use of a document as an exhibit at
    3
                   a deposition shall not in any way affect its designation as
    4
                   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    5
                   ONLY.”
    6
                          Transcripts containing Protected Material shall have an obvious
    7

    8              legend on the title page that the transcript contains Protected Material,

    9              and the title page shall be followed by a list of all pages (including line

   10              numbers as appropriate) that have been designated as Protected Material
   11              and the level of protection being asserted by the Designating Party. The
   12
                   Designating Party shall inform the court reporter of these requirements.
   13
                   Any transcript that is prepared before the expiration of a 21-day period for
   14
                   designation shall be treated during that period as if it had been designated
   15

   16              “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety

   17              unless otherwise agreed. After the expiration of that period, the transcript

   18              shall be treated only as actually designated.
   19                     (c) for information produced in some form other than documentary
   20
                   and for any other tangible items, that the Producing Party affix in a
   21
                   prominent place on the exterior of the container or containers in which the
   22
                   information or item is stored the legend “CONFIDENTIAL” or “HIGHLY
   23
                   CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. If only a portion or
   24

   25              portions of the information or item warrant protection, the Producing

   26              Party, to the extent practicable, shall identify the protected portion(s) and

   27              specify the level of protection being asserted.
   28
             C.    Inadvertent Failure to Designate
                                                   9
                                                                 STIPULATED PROTECTIVE ORDER
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    1                 1.     If timely corrected, an inadvertent failure to designate qualified

    2          information or items does not, standing alone, waive the Designating Party’s
    3
               right to secure protection under this Order for such material. Upon timely
    4
               correction of a designation, the Receiving Party must make reasonable efforts to
    5
               assure that the material is treated in accordance with the provisions of this Order.
    6
               VII.   CHALLENGING CONFIDENTIALITY DESIGNATIONS
    7

    8          A.     Timing of Challenges

    9                 1.     Any party or Non-Party may challenge a designation of

   10          confidentiality at any time that is consistent with the Court’s Scheduling Order.
   11          B.     Meet and Confer
   12
                      1.     The Challenging Party shall initiate the dispute resolution process
   13
               under Local Rule 37.1 et seq.
   14
               C.     The burden of persuasion in any such challenge proceeding shall be on the
   15

   16   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,

   17   to harass or impose unnecessary expenses and burdens on other parties) may expose the

   18   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
   19   the confidentiality designation, all parties shall continue to afford the material in
   20
        question the level of protection to which it is entitled under the Producing Party’s
   21
        designation until the Court rules on the challenge.
   22
               VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
   23
               A.     Basic Principles
   24

   25                 1.     A Receiving Party may use Protected Material that is disclosed or

   26          produced by another Party or by a Non-Party in connection with this Action only

   27          for prosecuting, defending, or attempting to settle this Action. Such Protected
   28
               Material may be disclosed only to the categories of persons and under the
                                                     10
                                                                    STIPULATED PROTECTIVE ORDER
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    1        conditions described in this Order. When the Action has been terminated, a

    2        Receiving Party must comply with the provisions of Section XIV below.
    3
                    2.     Protected Material must be stored and maintained by a Receiving
    4
             Party at a location and in a secure manner that ensures that access is limited to
    5
             the persons authorized under this Order.
    6
             B.    Disclosure of “CONFIDENTIAL” Information or Items
    7

    8               1.     Unless otherwise ordered by the Court or permitted in writing by

    9        the Designating Party, a Receiving Party may disclose any information or item

   10        designated “CONFIDENTIAL” only to:
   11                      a.     The Receiving Party’s Outside Counsel of Record in this
   12
                           Action, as well as employees of said Outside Counsel of Record to
   13
                           whom it is reasonably necessary to disclose the information for this
   14
                           Action;
   15

   16                      b.     The officers, directors, and employees (including House

   17                      Counsel) of the Receiving Party to whom disclosure is reasonably

   18                      necessary for this Action;
   19                      c.     Experts (as defined in this Order) of the Receiving Party to
   20
                           whom disclosure is reasonably necessary for this Action and who
   21
                           have signed the “Acknowledgment and Agreement to Be Bound”
   22
                           (Exhibit A);
   23
                           d.     The Court and its personnel;
   24

   25                      e.     Court reporters and their staff;

   26                      f.     Professional jury or trial consultants, mock jurors, and

   27                      Professional Vendors to whom disclosure is reasonably necessary or
   28
                                                  11
                                                                 STIPULATED PROTECTIVE ORDER
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    1                      this Action and who have signed the “Acknowledgment and

    2                      Agreement to be Bound” attached as Exhibit A hereto;
    3
                           g.     The author or recipient of a document containing the
    4
                           information or a custodian or other person who otherwise
    5
                           possessed or knew the information;
    6
                           h.     During their depositions, witnesses, and attorneys for
    7

    8                      witnesses, in the Action to whom disclosure is reasonably necessary

    9                      provided: (i) the deposing party requests that the witness sign the

   10                      “Acknowledgment and Agreement to Be Bound;” and (ii) they will
   11                      not be permitted to keep any confidential information unless they
   12
                           sign the “Acknowledgment and Agreement to Be Bound,” unless
   13
                           otherwise agreed by the Designating Party or ordered by the Court.
   14
                           Pages of transcribed deposition testimony or exhibits to depositions
   15

   16                      that reveal Protected Material may be separately bound by the court

   17                      reporter and may not be disclosed to anyone except as permitted

   18                      under this Stipulated Protective Order; and
   19                      i.     Any mediator or settlement officer, and their supporting
   20
                           personnel, mutually agreed upon by any of the parties engaged in
   21
                           settlement discussions.
   22
              C.     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
   23
        Information or Items.
   24

   25                1.    Unless otherwise ordered by the court or permitted in writing by

   26         the Designating Party, a Receiving Party may disclose any information or item

   27         designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
   28
                                                  12
                                                                STIPULATED PROTECTIVE ORDER
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    1                     a.     the Receiving Party’s Outside Counsel of Record in this

    2              action, as well as employees of said Outside Counsel of Record to whom it
    3
                   is reasonably necessary to disclose the information for this litigation and
    4
                   who have signed the “Acknowledgment and Agreement to Be Bound” that
    5
                   is attached hereto as Exhibit A.
    6
                          b.     Designated House Counsel of the Receiving Party (1) who
    7

    8              has no involvement in competitive decision-making, (2) to whom

    9              disclosure is reasonably necessary for this litigation, (3) who has signed

   10              the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (4) as
   11              to whom the procedures set forth in paragraph VIII.D.1. below.
   12
                          c.     Experts of the Receiving Party (1) to whom disclosure is
   13
                   reasonably necessary for this litigation, (2) who have signed the
   14
                   “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as to
   15

   16              whom the procedures set forth in paragraph VIII.D.2, below, have been

   17              followed;

   18                     d.     the court and its personnel;
   19                     e.     court reporters and their staff, professional jury or trial
   20
                   consultants, and Professional Vendors to whom disclosure is reasonably
   21
                   necessary for this litigation and who have signed the “Acknowledgment
   22
                   and Agreement to Be Bound” (Exhibit A); and
   23
                          f.     the author or recipient of a document containing the
   24

   25              information or a custodian or other person who otherwise possessed or

   26              knew the information.

   27

   28
                                                  13
                                                                STIPULATED PROTECTIVE ORDER
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    1         D.     Procedures for Approving or Objecting to Disclosure of “HIGHLY

    2   CONFIDENTIAL – ATTORNEYS’ EYES ONLY Information or Items to Designated
    3
        House Counsel or Experts.
    4
                     1.     Unless otherwise ordered by the court or agreed to in writing by the
    5
              Designating Party, a Party that seeks to disclose to Designated House Counsel
    6
              any information or item that has been designated “HIGHLY CONFIDENTIAL –
    7

    8         ATTORNEYS’ EYES ONLY” pursuant to paragraph VIII.C.1.b. first must make a

    9         written request to the Designating Party that (1) sets forth the full name of the

   10         Designated House Counsel and the city and state of his or her residence, and (2)
   11         describes the Designated House Counsel’s current and reasonably foreseeable
   12
              future primary job duties and responsibilities in sufficient detail to determine if
   13
              House Counsel is involved, or may become involved, in any competitive decision-
   14
              making.
   15

   16                2.     Unless otherwise ordered by the court or agreed to in writing by the

   17         Designating Party, a Party that seeks to disclose to an Expert (as defined in this

   18         Order) any information or item that has been designated “HIGHLY
   19         CONFIDENTIAL – ATTORNEYS’ EYES ONLY pursuant to paragraph VIII.C.1.c.
   20
              above first must make a written request to the Designating Party that (1)
   21
              identifies the general categories of “HIGHLY CONFIDENTIAL – ATTORNEYS’
   22
              EYES ONLY” information that the Receiving Party seeks permission to disclose to
   23
              the Expert, (2) sets forth the full name of the Expert and the city and state of his
   24

   25         or her primary residence, (3) attaches a copy of the Expert’s current resume, (4)

   26         identifies the Expert’s current employer(s), (5) identifies each person or entity

   27         from whom the Expert has received compensation or funding for work in his or
   28
              her areas of expertise or to whom the expert has provided professional services,
                                                    14
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    1        including in connection with a litigation, at any time during the preceding five

    2        years, and (6) identifies (by name and number of the case, filing date, and
    3
             location of court) any litigation in connection with which the Expert has offered
    4
             expert testimony, including through a declaration, report, or testimony at a
    5
             deposition or trial, during the preceding five years.
    6
                    3.     A Party that makes a request and provides the information specified
    7

    8        in the preceding respective paragraphs may disclose the subject Protected

    9        Material to the identified Designated House Counsel or Expert unless, within 14

   10        days of delivering the request, the Party receives a written objection from the
   11        Designating Party. Any such objection must set forth in detail the grounds on
   12
             which it is based.
   13
                    4.     A Party that receives a timely written objection must meet and
   14
             confer with the Designating Party (through direct voice to voice dialogue) to try
   15

   16        to resolve the matter by agreement within seven days of the written objection. If

   17        no agreement is reached, the Party seeking to make the disclosure to Designated

   18        House Counsel or the Expert may file a motion seeking permission from the court
   19        to do so. Any such motion must describe the circumstances with specificity, set
   20
             forth in detail the reasons why the disclosure to Designated House Counsel or the
   21
             Expert is reasonably necessary, assess the risk of harm that the disclosure would
   22
             entail, and suggest any additional means that could be used to reduce that risk. In
   23
             addition, any such motion must be accompanied by a competent declaration
   24

   25        describing the parties’ efforts to resolve the matter by agreement (i.e., the extent

   26        and the content of the meet and confer discussions) and setting forth the reasons

   27        advanced by the Designating Party for its refusal to approve the disclosure.
   28
                                                   15
                                                                 STIPULATED PROTECTIVE ORDER
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    1   In any such proceeding, the Party opposing disclosure to Designated House Counsel or

    2   the Expert shall bear the burden of proving that the risk of harm that the disclosure
    3
        would entail (under the safeguards proposed) outweighs the Receiving Party’s need to
    4
        disclose the Protected Material to its Designated House Counsel or Expert.
    5
              IX.     PROTECTED MATERIAL SUPOENAED OR ORDERED
    6
                      PRODUCED IN OTHER LITIGATION
    7

    8         A.      If a Party is served with a subpoena or a court order issued in other

    9   litigation that compels disclosure of any information or items designated in this Action

   10   as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” that
   11   Party must:
   12
                      1.     Promptly notify in writing the Designating Party. Such notification
   13
              shall include a copy of the subpoena or court order;
   14
                      2.     Promptly notify in writing the party who caused the subpoena or
   15

   16         order to issue in the other litigation that some or all of the material covered by

   17         the subpoena or order is subject to this Protective Order. Such notification shall

   18         include a copy of this Stipulated Protective Order; and
   19                 3.     Cooperate with respect to all reasonable procedures sought to be
   20
              pursued by the Designating Party whose Protected Material may be affected.
   21
              B.      If the Designating Party timely seeks a protective order, the Party served
   22
        with the subpoena or court order shall not produce any information designated in this
   23
        action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   24

   25   ONLY” before a determination by the Court from which the subpoena or order issued,

   26   unless the Party has obtained the Designating Party’s permission. The Designating

   27   Party shall bear the burden and expense of seeking protection in that court of its
   28
        confidential material and nothing in these provisions should be construed as
                                                    16
                                                                   STIPULATED PROTECTIVE ORDER
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    1   authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive

    2   from another court.
    3
               X.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    4
                      PRODUCED IN THIS LITIGATION
    5
               A.     The terms of this Order are applicable to information produced by a Non-
    6
        Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL
    7

    8   – ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in connection

    9   with this litigation is protected by the remedies and relief provided by this Order.

   10   Nothing in these provisions should be construed as prohibiting a Non-Party from
   11   seeking additional protections.
   12
               B.     In the event that a Party is required, by a valid discovery request, to
   13
        produce a Non-Party’s confidential information in its possession, and the Party is
   14
        subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
   15

   16   information, then the Party shall:

   17                 1.      Promptly notify in writing the Requesting Party and the Non-Party

   18          that some or all of the information requested is subject to a confidentiality
   19          agreement with a Non-Party;
   20
                      2.      Promptly provide the Non-Party with a copy of the Stipulated
   21
               Protective Order in this Action, the relevant discovery request(s), and a
   22
               reasonably specific description of the information requested; and
   23
                      3.      Make the information requested available for inspection by the
   24

   25          Non-Party, if requested.

   26          C.     If the Non-Party fails to seek a protective order from this court within 14

   27   days of receiving the notice and accompanying information, the Receiving Party may
   28
        produce the Non-Party’s confidential information responsive to the discovery request.
                                                     17
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    1   If the Non-Party timely seeks a protective order, the Receiving Party shall not produce

    2   any information in its possession or control that is subject to the confidentiality
    3
        agreement with the Non-Party before a determination by the court. Absent a court
    4
        order to the contrary, the Non-Party shall bear the burden and expense of seeking
    5
        protection in this court of its Protected Material.
    6
               XI.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    7

    8          A.     If a Receiving Party learns that, by inadvertence or otherwise, it has

    9   disclosed Protected Material to any person or in any circumstance not authorized under

   10   this Stipulated Protective Order, the Receiving Party must immediately (1) notify in
   11   writing the Designating Party of the unauthorized disclosures, (2) use its best efforts to
   12
        retrieve all unauthorized copies of the Protected Material, (3) inform the person or
   13
        persons to whom unauthorized disclosures were made of all the terms of this Order, and
   14
        (4) request such person or persons to execute the “Acknowledgment and Agreement to
   15

   16   be Bound” that is attached hereto as Exhibit A.

   17          XII. INADVERTENT PRODUCTION OF PRIVILEGED OR

   18                 OTHERWISE PROTECTED MATERIAL
   19          A.     When a Producing Party gives notice to Receiving Parties that certain
   20
        inadvertently produced material is subject to a claim of privilege or other protection, the
   21
        obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure
   22
        26(b)(5)(B). This provision is not intended to modify whatever procedure may be
   23
        established in an e-discovery order that provides for production without prior privilege
   24

   25   review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the parties

   26   reach an agreement on the effect of disclosure of a communication or information

   27   covered by the attorney-client privilege or work product protection, the parties may
   28
        incorporate their agreement in the Stipulated Protective Order submitted to the Court.
                                                     18
                                                                   STIPULATED PROTECTIVE ORDER
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    1          XIII. MISCELLANEOUS

    2          A.     Right to Further Relief
    3
                      1.     Nothing in this Order abridges the right of any person to seek its
    4
               modification by the Court in the future.
    5
               B.     Right to Assert Other Objections
    6
                      1.     By stipulating to the entry of this Protective Order, no Party waives
    7

    8          any right it otherwise would have to object to disclosing or producing any

    9          information or item on any ground not addressed in this Stipulated Protective

   10          Order. Similarly, no Party waives any right to object on any ground to use in
   11          evidence of any of the material covered by this Protective Order.
   12
               C.     Filing Protected Material
   13
                      1.     A Party that seeks to file under seal any Protected Material must
   14
               comply with Civil Local Rule 79-5. Protected Material may only be filed under
   15

   16          seal pursuant to a court order authorizing the sealing of the specific Protected

   17          Material at issue. If a Party's request to file Protected Material under seal is

   18          denied by the Court, then the Receiving Party may file the information in the
   19          public record unless otherwise instructed by the Court.
   20
               XIV. FINAL DISPOSITION
   21
               A.     After the final disposition of this Action, as defined in Section V, within
   22
        sixty (60) days of a written request by the Designating Party, each Receiving Party must
   23
        return all Protected Material to the Producing Party or destroy such material. As used
   24

   25   in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

   26   summaries, and any other format reproducing or capturing any of the Protected

   27   Material. Whether the Protected Material is returned or destroyed, the Receiving Party
   28
        must submit a written certification to the Producing Party (and, if not the same person
                                                     19
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    1   or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by

    2   category, where appropriate) all the Protected Material that was returned or destroyed
    3
        and (2) affirms that the Receiving Party has not retained any copies, abstracts,
    4
        compilations, summaries or any other format reproducing or capturing any of the
    5
        Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
    6
        archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
    7

    8   legal memoranda, correspondence, deposition and trial exhibits, expert reports,

    9   attorney work product, and consultant and expert work product, even if such materials

   10   contain Protected Material. Any such archival copies that contain or constitute
   11   Protected Material remain subject to this Protective Order as set forth in Section V.
   12
               B.     Any violation of this Order may be punished by any and all appropriate
   13
        measures including, without limitation, contempt proceedings and/or monetary
   14
        sanctions.
   15

   16   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

   17   Dated: November 23, 2021                   /s/ Trevor Barrett
                                                   Stephen M. Doniger
   18                                              Scott Alan Burroughs
                                                   Trevor W. Barrett
   19                                              Attorney(s) for Plaintiff Klauber Brothers, Inc.
   20
        Dated:November 23, 2021                    /s/ Peter K. Chu
   21                                              Jura C. Zibas
                                                   Peter K. Chu
   22                                              Attorney(s) for Defendant Be Wicked, Inc.
   23
        The undersigned attests that all signatories listed, and on whose behalf this
   24
        filing is submitted, concur in the filing’s content and have authorized the filing.
   25

   26
        Dated: November 22, 2021                          By: /s/ Peter K. Chu
   27                                                            Peter K. Chu
                                                                 Declarant
   28
                                                     20
                                                                    STIPULATED PROTECTIVE ORDER
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    1                               EXHIBIT A
                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    2

    3
                I,                                   [print or type full name], of
    4
                         [print or type full address], declare under penalty of perjury that I have
    5
        read in its entirety and understand the Stipulated Protective Order that was issue by the
    6
        United States District Court for the Central District of California on [DATE] in the case
    7

    8   of Klauber Brothers, Inc. v. Be Wicked, Inc. et al. CASE NO. 21-cv-06886-PA-AGR. I

    9   agree to comply with and to be bound by all the terms of this Stipulated Protective Order

   10   and I understand and acknowledge that failure to so comply could expose me to
   11   sanctions and punishment in the nature of contempt. I solemnly promise that I will not
   12
        disclose in any manner any information or item that is subject to this Stipulated
   13
        Protective Order to any person or entity except in strict compliance with the provisions
   14
        of this Order.
   15

   16           I further agree to submit to the jurisdiction of the United States District Court for

   17   the Central District of California for the purpose of enforcing the terms of this Stipulated

   18   Protective Order, even if such enforcement proceedings occur after termination of this
   19   action. I hereby appoint                                   [print or type full name] of
   20
                                       [print or type full address and telephone number] as my
   21
        California agent for service of process in connection with this action or any proceedings
   22
        related to enforcement of this Stipulated Protective Order.
   23
        Date:
   24

   25   City and State where sworn and signed:

   26   Printed Name:

   27   Signature:
   28
                                                       22
                                                                     STIPULATED PROTECTIVE ORDER
                                                                CASE NO. 21-cv-06886-PA-AGR263118790v.1
